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UN|TED STATES D|STR|CT COURT
M|DDLE D|STR|CT OF FLORIDA
TAMPA DlV|S|ON
DAN|E|_ DELAN|S,
P|aintiff,
v. CASE #:
POLK COUNTY SCHOOL BOARD,

Defendant.
/

COMPLA|NT AND DEMAND FOR JURY TR|AL

COMES NOW P|aintif'f, DAN|EL DELAN|S (hereinafter “P|aintiff"), by and through his
undersigned counse|, sues Defendant, POLK COUNTY SCHOOL BOARD (hereinafter
“Defendant”), and upon information and belief alleges the following:

INTRODUCT|ON

1. This action seeks compensatory and punitive damages from Defendant due to
Defendant’s violation of the Farnily N|edica| Leave Act (FMLA).

2. At all times material to this claim, Defendant was the governing body of the Polk
County School District and made all decisions relative to the employment of school
custodians

3. P|aintiff was terminated from his employment as a school custodian for
Defendant after taking a valid medical leave for an FMLA-qualifying condition and after
applying with Defendant for FMLA approved leave of absence

4. As a result of this termination, Plaintiff has suffered damages and financial
harm, including lost pay, lost pay Plaintiff would have received in the future, lost insurance

and other lost employment benefits

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JUR|SD|CTION

5. This Court has subject matterjurisdiction pursuant to 28 U.S.C. §1331 and 29

U.S.C. § 2601-2654 because Plaintiff has raised federal claims herein under the FlvlLA.
VENUE

6. Venue is proper in this Court under 28 U.S.C. §1391(b) and (e) in that a
substantial part of the events or omissions giving rise to the claim occurred in this district, and
all of the parties reside in this district

PART|ES

7. For ali times material to this claim, Plaintiff was an adult individual with
maintaining residency in the jurisdiction set forth above

8. Defendant, pursuant F|orida Statute §230.21, was the governing body of the
Poik County School District, responsible for overseeing the operations of Po|k County
schools and responsible for the employment of Poik County school employees, including
custodians.

STATEMENT OF FACTS

9. Plaintiff was hired by Defendant as a Poik County school custodian in 1989.
For that time until his termination, Plaintiff worked in Poik County at Nledut|a Elementary
Schoo| as a full-time school custodian

10. Plaintiff last worked as a custodian on or about November '16, 2012, after which
there was an employment break in conjunction with the Thanksgiving holiday. Plaintiff was
scheduled to return to work after the Thanksgiving holiday break on or about November 26,
2012.

11. On the weekend before he was scheduled to return to work, Plaintiff suffered

advancing low back pain, which became debilitating to the point that he visited the

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Emergency Room. He was seen at Bartow Regional Medical Center Emergency Room on
the night before his scheduled return-to-work time

12. After being evaluated at the hospita|, medical providers indicated that Plaintiff
was “off work“ and unable to return to work until followed by Plaintist regular physician

13. Plaintiff called Defendant, his employerl and advised of his status.

14. Plaintiff followed up care and treatment with his private physician on December
4, 2012 and again on December 12, 2012. At the latter visit, Plaintiff was referred by Dr. Bala
to a neurosurgeon for evaluation During this timel Plaintiff was maintained in his “off work“1
status.

15. During this time, Plaintiff called Defendant, his employer, and advised of his
status.

16. Plaintiff was evaluated by a neurosurgeon on December 13, 2012. After that
visit, the medical provider issued a note excusing Plaintiff from Work until further notice and
indicated, "FMLA forms pending."

17. During this treatment time, Plaintiff requested from his employerl Defendantl
paperwork for approved Fl'vlLA time off work. He received these documents and brought to
the neurosurgeon the employer’s form requesting verification of leave by a physician

18. Once he received this physician statement, Plaintiff provided to Defendant the
completed paperwork for approved FMLA timel including the physician statement

19. On or about December 12, 2012, the principal working at Nledulla E|ementary
School recommended Plaintiff's termination, alleging job abandonment

20. The school principal made this recommendation notwithstanding that Plaintiff
had advised of his medical conditionl had advised of his inability to work due to that condition

and had requested FMLA approved time off from work.

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21. Defendant later sent to Plaintiff a letter dated January 9, 2013, advising of its
intent to terminate Plaintiff

22. Defendant did so notwithstanding that Plaintiff had advised of his medical
condition had advised of his inability to work due to that condition, had requested Ffvll_A
approved time off and had provided to Defendant a medical note from the neurosurgeon
relating that Plaintiff was unable to work due to his medical condition

23. Sometime on or about February 19, 2013, Defendant terminated Plaintiff’s
employment

24. Defendant terminated Plaintist employment notwithstanding that Plaintiff had
advised of his medical condition, had advised of his inability to work due to that condition, had
requested FMLA approved time off, had provided to Defendant a medical note from the
neurosurgeon relating that Plaintiff was unable to work due to his medical condition, and had
provided Defendant completed forms with medical authorization seeking approved F|VlLA
time off due to his medical condition

MN_T__I_
Vio|ations of the Family Medica| Leave Act

25. Plaintiff realleges and reincorporates paragraphs 1 through 24 as if fully alleged
herein

26. Plaintiff was an eligible employee under the definition terms of the FMLA, 29
U.S.C. § 2611.

27. At the time of his leave, Plaintiff had been employed by Defendant for at least
twelve (12) months

28. Further, Plaintiff had worked at least 1,250 hours for Defendant during the

twelve (12) months prior to his taking medical leave

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29. At all times material hereto1 Defendant employed in excess of fifty (50)
employees within seventy-five (75) miles of the location where Plaintiff worked.

30. Plaintiff requested leave for a serious health condition in November and in
December of 2012.

31. Plaintiff timely provided to Defendant information about his serious health
condition and medical verification confirming his need for a medical leave of absence

32. Plaintiff was entitled to receive leave pursuant to the FMLA, and Defendant was
not permitted to take adverse employment actions or retaliate against Plaintiff for exercising
his rights under the FMLA.

33. Defendant failed to provide notice to Plaintiff regarding his rights and obligations
pursuant to FMLA.

34. Defendant failed to designate Plaintist absences as FlV|l_A-qualifying.

35. Defendant interfered with Plaintist rights under the l'~'lv‘lLA by terminating his
employment during his FMLA-qualifying medical absence and refusing to reinstate him
afterwards

36. Defendant further retaliated against Plaintiff by firing him for taking FMLA-
qualifying absences

37. Defendant's actions were willful.

38. Defendant's actions caused Plaintiff financial harm including the loss of wages
lost wages into the future, lost salary increases and bonuses lost health care benefits, lost
retirement contributions and benefits and seniority

39. Plaintiff has been required to retain the undersigned attorney to prosecute this
action and is obligated to pay the undersigned attorney a reasonable fee.

40. in the event Plaintiff prevails in this action, he is entitled to an award of his

reasonably attorneys’ fees pursuant to §627.428, F|orida Statutes (2001).

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WHEREFORE, Plaintiff, DAN|EL DELAN|S respectfully prays that this Court enter an
Order requiring reinstatement of Plaintist employment in the same respect that Plaintiff
wouid have been reinstated had Defendant provided Plaintiffs FMLA rights back pay, front
pay, salary increases and bonuses insurance retirement contributions and benefits and
seniority, attorneys’ fees and costs and such other relief as this Court deems just, proper and
appropriate
DEMAND FOR JURY TR|AL

Plaintiff, DAN|E|;B)ELAN|S hereby demands a trial byjury on all issues so triable
cared this § 4 day or December 2013.

MARK G. CAPRON, P.A.

 

l\)‘lark G. Capron, Esquire

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